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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

SANTIGO SANDERS, on behalf of
behlBLANCA
Himself     andDELEON,
                  othersELVIA
                           similarly               CIVIL ACTION FILE NO.
situationedYOLANDA
Situated,                   PERES,
                                                   3:14-cv-163-TCB




       Plaintiff,

            v.

ANTHONY ALAIMO, ANTHONY
ALISTRAND  DEVELOPMENT
ALAIMO, INC; VALOR HOMES 521
LLC and VALOR PLUMBING LLC,

       Defendants.


      DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION FOR
                    SUMMARY JUDGMENT


      Anthony Alaimo (“Alaimo”), Anthony Alaimo, Inc. (“AAI”), Valor Homes

521 LLC (“VH”) and Valor Plumbing LLC (“VP”) (collectively, “Defendants”), by

and through their undersigned counsel, hereby file and serve their Brief in Support

of their Motion for Summary Judgment.

                     PROCEDURAL STATUS OF THE CASE

       This action was filed on or about October 23, 2014 (Doc. 2-1). At the time,
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Plaintiff was represented by Attorney Thomas Jefferson Kerr of the firm of Kerr

and May. After several extensions of time for Defendants to plead in response to

the Complaint, Defendants Answered on January 20, 2015 (Doc. 15) denying all

liability and denying that there was a basis for a collective action on behalf of

Defendants’ employees.

      Counsel for the parties met for an Early Planning Conference on or about

February 5, 2015 but did not complete their discussions; counsel agreed to extend

the time for submitting the Joint Planning Report (“JPR”), Initial Disclosures and

the commencement of the discovery period. By a consent motion (Doc. 22)

counsel for the parties extended the time for filing the JPR and initial disclosures

to May 20, 2015.

      On May 11, 2015, Plaintiff’s counsel filed a Motion to Withdraw in this

case (Doc. 24) which showed that Plaintiff had been given notice of counsel’s

intent to withdraw on April 24, 2015 and the time had elapsed without Plaintiff

having made any objection thereto. By Order dated May 22, 2015 (Doc. 27) the

Court granted Attorney Kerr’s Motion to Withdraw and gave notice to Plaintiff of

his duties as a pro se litigant. (Doc. 28.)

      Following Plaintiff’s counsel’s announced intent to withdraw, Plaintiff has,

to date, made no contact with Defendants’ counsel. Per the Court’s Local Rule

16.2, having no contact with plaintiff (whose duty it was to take the lead in



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preparing a JPR) Defendants’ filed and served their own Defendants’ Planning

Report (“DPR”) on the due date of May 20, 2015. (Doc. 26.) That same day, as

also required by prior order, Defendants filed and served their Initial Disclosures.

(Doc. 25.)

      More than a month after Plaintiff’s counsel gave him notice of intent to

withdraw and after due dates in this action came and went, Plaintiff has not filed

or served any papers, has not given the Court notice of an email account that he

uses, has not registered in any way to receive electronic service, and has not

submitted a Planning Report nor made Initial Disclosures.

                     STATEMENT OF MATERIAL FACTS

      Defendants have served and filed with the accompanying Motion and this

Brief their Statement of Material Facts as to which There is No Genuine Issue to

be Tried (“SOMF”). Defendants incorporate the factual assertions in that SOMF

by reference into this Brief. The SOMF shows that despite the unsupported

allegations of the Complaint, Plaintiff has thus far introduced no evidence into the

record to support his claims and Defendants have presented evidence as to all

contentions of the Plaintiff sufficient to rebut all claims.

      As the SOMF and evidentiary materials establish, only Defendant Anthony

Alaimo, Inc. (“AAI”) employed plaintiff. Defendant AAI set up a system to track

and record the work hours of employees, including Plaintiff Sanders, who worked



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“in the field” performing plumbing services on residential properties owned by

companies related to the company that employed him.              AAI used modern

technology to track and record work hours of Sanders and others: hours were

reported by a cellular-phone-based clock-in/clock out system and cross checked

by GPS.

      In addition to these highly accurate methods, AAI provided employees,

including Sanders, with a summary of the hours recorded by the company and an

opportunity to seek corrections to those hours if the employee felt they were

under-inclusive.   Sanders in fact on several occasions sought “time card

corrections,” was usually granted those, and routinely signed off on the payments

made to him for such time card corrections, acknowledging that they were correct.

      During the length of his employment Sanders did not contend that he was

regularly not being paid overtime, nor did he contend his compensation payments

had been reduced by any improper charges, nor did he assert that he was required

to work any hours that were not recorded.

      Anthony Alaimo (“Alaimo”), the principal in AAI and an individual

defendant in this case, reviewed Sanders’ employment and compensation records

following the filing of the instant action and concluded that Sanders had always

been paid amounts equal to or greater than his total earnings.

      Sanders stopped working in September, 2014 after an alleged accident that



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left him with a physical disability. Shortly after that, on October 6, 2014, Sanders

called Alaimo and stated that he was going to sue for overtime payments. Alaimo

told Sanders that they both knew no such amounts were due and owing. Sanders

acknowledged this on the phone and told Alaimo his purpose in filing suit was to

force Alaimo to incur legal fees. Shortly thereafter this action was filed.

                                   ARGUMENT

  I. DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON
      PLAINTIFF’S CLAIM FOR OVERTIME PAY AGAINST
      DEFENDANT AAI, HIS SOLE EMPLOYER; THE OTHER
      THREE DEFENDANTS ARE ENTITLED TO SUMMARY
      JUDGMENT AS PARTIES WHO DID NOT EMPLOY SANDERS.


      Defendants, through the Affidavit of Anthony Alaimo, have established that

Sanders’ sole employer was AAI. None of the three other defendants in this

action have any employees whatsoever. Sanders has no basis to assert a right to

compensation from the three non-employers to whom he provided no services.

      Sanders did not made initial disclosures in this case when they were due.

As a result, no witnesses for the Plaintiff have been identified, no documents have

been disclosed or described from which facts supporting his claims might be

gleaned and no damages have been set forth by him, nor any basis for them. The

result is that there is no evidence to support his claims or to be examined in the

face of a motion for summary judgment.

      Defendant AAI, through Mr. Alaimo, has shown that not only was that

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company one that did not fail to pay overtime to Sanders and others on some

regular basis, but that rather the company maintained a sophisticated system of

tracking and verifying the work hours of remote employees.          Mr. Alaimo’s

affidavit shows that AAI’s system incorporated self-reporting by employees of

work hours by way of cellular-phone technology, plus a GPS system was used for

each employee to provide a cross check. Further, employee hours were recapped

for employees on a per-pay-period basis. Employees were permitted, without

repercussions, to challenge the accuracy of the hours tabulated by AAI, and

Sanders in fact did so on several occasions. Further, the undisputed evidence is

that AAI as Sanders’ employer agreed with the vast majority of Sanders’

requested time card corrections, including following a practice of resolving doubts

in favor of the employee.

      AAI has presented a summary (Exhibit “B” to the Motion) which

documents numerous time card corrections sought by Sanders and allowed by

AAI. Thereafter, as Alaimo has testified, Sanders was paid the amounts indicated

by the time card corrections along with additional discretionary bonuses. AAI

even went to the extraordinary length of increasing the bonus amounts to 150% of

the bonus deemed warranted to assure that there could be no issue of overtime pay

liability associated with the bonuses.   For such reasons, when Alaimo reviewed

the compensation history of Sanders he determined that over the course of time



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Sanders had actually been paid thousands of dollars more than he had earned.

      In contrast to Defendants’ detailed evidence, Sanders has only generalized

allegations of the Complaint without any supporting evidence. His allegations

imply that his employer followed practices that regularly resulted in overtime

hours being worked with either no compensation or insufficient compensation

(i.e., not paid at the time-and-a-half rate). Yet Sanders has not shown a single fact

that would establish any practice by Defendants that failed to compensate him for

all that he had earned.

      The purpose of the summary judgment procedure is to dispose of cases

where there is no genuine issue of fact, even though an issue may be raised

formally by the pleadings. Battista v. Horton, Myers & Raymond, 128 F.2d 29

(D.C. Cir. 1942). ,See, also, Koepke v. Fontecchio, 177 F.2d 125 (9th Cir. 1949);

Miller v. Miller, 1941, 122 F.2d 209 (D.C. Cir. 1941); Fletcher v. Krise, 120 F.2d

809 (D.C. Cir.), cert. den’d, 314 U.S. 608 (1941); Ortiz v. National Liberty Ins.

Co. of America, 75 F.Supp. 550 (D. P.R. 1948); Michigan Millers Mut. Fire Ins.

Co. v. Canadian Northern Ry., 58 F.Supp. 326 (D. Minn. 1942), aff’d, 152 F.2d

292 (8th Cir. 1945). The summary judgment procedure allows the court to isolate

and dispose of factually unsupported claims or defenses.          Snowden By and

Through Victor v. Connaught Laboratories, Inc., 793 F.Supp. 1040 (D. Kan.

1992). The procedure therefore calls for the party with the burden of proof at trial



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– here, the plaintiff – to come forward with evidence that may establish the

essential elements of his claims. Plaintiff has come forward with nothing and has

not even participated in the case as far as joining with Defendants in a planning

report or making initial disclosures. It is plaintiff’s burden to come forward with

competent evidence to rebut the showing now made by Defendants.

      There is nothing in the record that the Court can point to which establishes a

single instance of Plaintiff, or any other employee, performing work for which

overtime pay was due and not receiving it. No dates or durations are set forth by

Plaintiff. No damages calculations are provided. No descriptions of any practices

of the Defendants are presented that would even colorably suggest that Defendants

did not regularly and routinely follow the understood requirements of the FLSA.

With this record, Plaintiff has failed to establish any element of its claims that

overtime is owed.

      While Plaintiff lacks evidence as to any violations of his own compensation

rights under the FLSA, there is also no evidence as to such violations in relation to

any other employee of Defendants who might constitute others “similarly

situated.” Defendant Alaimo has testified that three of the four defendants do not

even have employees. Plaintiff has not set forth any grounds or basis why three

defendants would have liability for the employment practices of the fourth

defendant and, if that were to be done, Plaintiff would have the burden of coming



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forward with evidence at this stage to establish a factual predicate for the Court

possibly so finding. Plaintiff has failed to do so.

        Defendants have set forth facts that establish proper practices regarding the

payment of overtime. With no contrary evidence, they are entitled to summary

judgment on Plaintiff’s claim for overtime, both on his own behalf and on behalf of

others.

  II.       DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT
           ON PLAINTIFF’S ASSERTION THAT THEY COMMITTED
           “WILLFUL” VIOLATIONS OF THE FLSA, WHERE NO
           EVIDENCE OF ANY VIOLATIONS EXISTS AND THE
           STANDARD FOR FINDING “WILLFULNESS” CANNOT BE
           MET.

        In the absence of evidence of any violations of the FLSA, the facts of this

case cannot support any finding of a willful violation. The U.S. Supreme Court

has established a standard for willful violations:        In addition to showing the

violation itself, the plaintiff must also establish that the employer committing the

violation either knew its conduct was prohibited by the federal law or showed a

“reckless disregard” for whether its conduct did so. Trans World Airlines, Inc. v.

Thurston, 496 U.S. 111 (1985) (ADEA case).            Here, Mr. Alaimo has testified in

detail that his company understood the obligation to pay overtime rates for all

hours in excess of 40 in a given work week and went even further to establish

payment practices to increase amounts of discretionary bonus payments by an

additional 50% to assure that there was no failure to pay overtime, even as to

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compensation that was both discretionary and not based on hourly records.

      As Alaimo has further testified, a Wage & Hour Division Compliance

Review was recently conducted, initiated by a notice letter sent to AAI only days

after Sanders’ lawsuit was filed. (Exhibit “D” to the accompanying Motion).

Alaimo’s testimony establishes complete cooperation with the investigator and, as

a result, no violations of any sort were found and no liability was established.

Given the timing of the Review and the scope of the documents requested and

reviewed by the investigator, the allegations of Sanders relate to a time-frame that

has been subjected to Wage & Hour Division scrutiny. While Sanders’ Complaint

alleges he and others “similarly situated” were not paid all overtime owed, the

investigator found no such violation. As Alaimo has testified, overtime pay was a

focal point of the investigation.

      AAI came through the Review with a clean bill of health. For there to be

willfulness, there must be an underlying violation, and then something more. Here

just the opposite condition has been established where a federal investigator has

determined that AAI’s compensation practices and history are in compliance with

the FLSA. There is no violation and no basis to find any willfulness, requiring that

aspect of Plaintiff’s Complaint be denied and dismissed as well.




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  III.     DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON
           PLAINTIFF’S CLAIM FOR ATTORNEYS’ FEES BECAUSE NO
           VIOLATIONS OF THE FLSA HAVE BEEN COMMITTED.

         When a violation of § 206 or 207 of the FLSA occurs, the plaintiff employee

is entitled also to a reasonable attorney’s fee to be paid by the Defendant, under 29

U.S.C. § 216 (b). The record in this case does not establish any violation of the

FLSA on which to premise an attorneys’ fees award. Defendants are therefore

entitled to summary judgment on the issue of attorneys’ fees.

         Further, as Mr. Alaimo’s testimony establishes, the Plaintiff, Santigo

Sanders, acknowledged in their phone conversation on October 6, 2014 that he had

no valid claim for unpaid overtime compensation and was going to bring suit just

to force his employer to incur legal fees. As the matter has turned out, although

Sanders obtained counsel to file the action, after counsel for the parties met for an

Early Planning Conference counsel for the Plaintiff thereafter withdrew without

filing anything on behalf of the Plaintiff after the Complaint. Plaintiff has made no

disclosures and has not responded in any way to the Court’s Notice to Pro Se

Party, sent to Sanders on May 22, 2015. That Notice contains instructions to the

Plaintiff that as a pro se litigant he must, among other things:

         1. Comply with the Federal Rules of Civil Procedure and Local Rules;

         2. Provide the Court with a current mailing address, telephone numbers and

            email address (unless he has no email); and



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      3. Comply with the Court’s Scheduling Order and Court’s Instructions.

      Plaintiff has already missed important deadlines: No communication was

made by Plaintiff, after his counsel moved to withdraw, to Defendant’s counsel in

order to complete a report of the Planning Conference and to submit a Joint

Planning Report. Even more importantly, no initial disclosures have been made by

Plaintiff. There is therefore no description of the facts Plaintiff relies on for his

claims, the damages he contends were incurred, the witnesses whom he believes to

have knowledge that would support the claims and the documents upon which his

case would depend. It could be said that following the withdrawal of his counsel,

Plaintiff has already simply disappeared from this case.

      In summary, Plaintiff has done nothing to support the broad and general

allegations of the Complaint while Defendants have carefully and in detail set forth

evidence to show that they conscientiously pay all overtime amounts owed to

employees and have had their compensation practices reviewed and approved.

With no evidence to support his claims, and having apparently abandoned the case

and declining to participate in further proceedings after withdrawal of his counsel,

Plaintiff should have summary judgment entered against him as to all remedies

sought from all parties defendant.




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                                CONCLUSION

      For all the foregoing reasons, Defendants respectfully pray that their Motion

for Summary Judgment be GRANTED in favor of all Defendants as to all claims,

remedies and requests for relief; that Plaintiff’s case be DISMISSED WITH

PREJUDICE; and that Defendants be afforded such other and further relief as the

Court deems just and proper.

      Respectfully submitted, this 29 day of May, 2015.



                                     RICHELO LAW GROUP, LLC

                                      By: /S/ Thomas Richelo
                                        Thomas Richelo, Esq.
                                        Ga. State Bar No. 604425
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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 29, 2015, I electronically filed the following

pleading with the Clerk of Court using the CM/ECF system:

     DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION FOR
                   SUMMARY JUDGMENT


      And further, as to the pro se plaintiff, who has not registered to receive

service from the Court using the CM/ECF system, I certify that the foregoing is

being served by certified mail, return receipt requested, with adequate postage

affixed thereto to assure delivery to the following:

                                 Santigo Sanders
                               2085 Freeman Road
                              Jonesboro, GA 30236

                                                        /s/ Thomas Richelo
                                                        Thomas Richelo
                                                        Ga. Bar No. 604425
                                                        trichelo@richelolaw.com




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